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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
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                                                     :
UNITED STATES OF AMERICA                             :
                                                     :          CASE NO. 4:06-CR-533
                  Plaintiff/Respondent               :                   4:08-CV-996
                                                     :
vs.                                                  :          OPINION & ORDER
                                                     :          [Resolving Doc. Nos. 1, 68, 78 & 82.]
EDWARD TARVER                                        :
                                                     :
                  Defendant/Petitioner.              :
                                                     :
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JAMES S. GWIN, UNITED STATES DISTRICT JUDGE:

        On April 17, 2008, Defendant Edward Tarver filed a motion to vacate, set aside, or correct

his sentence pursuant to 28 U.S.C. § 2255. [Doc. 1, 68.] With his motion, Tarver seeks to vacate,

set aside, or correct the sentence imposed by the United States District Court for the Northern

District of Ohio following Tarver’s plea of guilty to eleven counts of trafficking cocaine base in

violation of 21 U.S.C. § 841(a)(1), (b)(1)(B), and (b)(1)(C), two counts of possession of a sawed-off

shotgun in violation of 26 U.S.C. § 5861(d), and one count of possession of a firearm in relation to

a drug trafficking crime in violation of 18 U.S.C. § 924(c)(1). [Id.]

        In support of the § 2255 motion, Tarver alleged that his counsel was ineffective because he

(1) “failed to learn the facts and familiarize himself with the law in relation to [s]entencing

[m]anipulation and [s]entencing [e]ntrapment;” (2) “failed to object to gun charges and failed to learn

the surrounding facts and the law relating to [§] 924(c)(1);” (3) “failed to investigate charges,

willingly accepted [sic];” and (4) “failed to give [a] consultation of the elements of the § 924(c)(1)


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charge to [the Defendant], leaving the [Defendant] unfamiliar with such charge[] during the entire

proceedings of the case[,] and advised [the Defendant] to take a plea agreement where [a] strong

possible prevailing defense exist[ed] for both[] the § 924(c)(1) charge[,] as well as the excessive

accumulating drug amount.” [Id.] The United States opposed Tarver’s motion. [Doc. 78.]

       On December 16, 2008, Magistrate Judge George J. Limbert filed a Report and

Recommendation that recommended the Court deny Defendant Tarver’s § 2255 motion in its entirety,

with prejudice. [Doc. 82.] The Magistrate Judge found that Tarver had not met his burden of

demonstrating that his counsel was ineffective under the Strickland v. Washington standard because

he had “made absolutely no showing of deficient performance or prejudice.” [Id. at 7.] Tarver filed

a motion asking for an extension of time to object to Magistrate Judge Limbert’s Report and

Recommendation, [Doc. 83], and the Court granted this motion, requiring Tarver to file his

objections by February 28, 2009, [Doc. 84.] Tarver did not file any objection within the extended

time. The Court ADOPTS Magistrate Judge Limbert’s Report and Recommendation.

       The Federal Magistrates Act requires a district court to conduct a de novo review only of

those portions of a Report and Recommendation to which the parties have made an objection. 28

U.S.C. § 636(b)(1)(C). Parties must file any objections to a Report and Recommendation within ten

days of service. Id. Failure to object within this time waives a party’s right to appeal the magistrate

judge’s recommendation. FED . R. CIV . P. 72(a); see also Thomas v. Arn, 474 U.S. 140, 145 (1985);

United States v. Walters, 638 F.2d 947, 949-50 (6th Cir. 1981). Absent objection, a district court

may adopt the magistrate’s report without review. See Thomas, 474 U.S. at 149. Moreover, having

conducted its own review of the parties’ briefs on the issue, the Court agrees with the conclusions

of the Magistrate Judge.

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       Accordingly, the Court adopts in whole Magistrate Judge Limbert’s findings of fact and

conclusions of law and incorporates them fully herein by reference. The Court thus DENIES

Defendant Tarver’s § 2255 motion. Further, the Court certifies, pursuant to 28 U.S.C. § 1915(a)(3),

that an appeal from this decision could not be taken in good faith, and no basis exists upon which to

issue a certificate of appealability. 28 U.S.C. § 2253(c); Fed. R. App. 22(b).

       IT IS SO ORDERED.



Dated: March 3, 2009                                  s/       James S. Gwin
                                                      JAMES S. GWIN
                                                      UNITED STATES DISTRICT JUDGE




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